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 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:09-CR-00380-03 WBS
12                                 Plaintiff,             STIPULATION AND [PROPOSED] ORDER TO
                                                          CONTINUE HEARING
13                           v.
                                                          DATE: October 31, 2016
14   ARMANDO ESPINDOLA,                                   TIME: 9:00 a.m.
                                                          COURT: Hon. William B. Shubb
15                                 Defendant.
16

17

18                                                STIPULATION

19           Plaintiff United States of America, by and through its counsel of record, and defendant, by and

20 through defendant’s counsel of record Erin J. Radekin, hereby stipulate as follows:
21           1.      By previous order, this matter was set for an admit/deny hearing, or in the alternative, an

22 evidentiary hearing, on October 31, 2016.

23           2.      Due to the availability of witnesses who will be essential for both the United States and

24 the defense in any potential evidentiary hearing, the parties now move to continue the hearing until

25 November 14, 2016.

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        STIPULATION TO CONTINUE HEARING                   1
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             Case 2:09-cr-00380-WBS Document 323 Filed 10/18/16 Page 2 of 2


 1 IT IS SO STIPULATED.

 2

 3 Dated: October 17, 2016                                  PHILLIP A. TALBERT
                                                            Acting United States Attorney
 4

 5                                                          /s/ JEREMY J. KELLEY
                                                            JEREMY J. KELLEY
 6                                                          Assistant United States Attorney
 7

 8 Dated: October 17, 2016                                  /s/ ERIN J. RADEKIN
                                                            ERIN J. RADEKIN
 9
                                                            Counsel for Defendant
10                                                          ARMANDO ESPINDOLA

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13
                                                    ORDER
14
            For the reasons set forth in the accompanying stipulation, the admit/deny hearing set for October
15
     31, 2016, is continued to November 14, 2016 at 9:00am.
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            IT IS SO ORDERED.
18
            Dated: October 17, 2016
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      STIPULATION TO CONTINUE HEARING                   2
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